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                             Exhibit B
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                          AFFIDAVIT OF DR. DAVID SAVITZ,
                                                 SAVITZ. Ph.D.

    STATE OF RHODE TSLAND
             RHODE ISLAND  )
                          ))SS
                             SS
    couNTY OF
    COUNTY    PROVTDENCE )
           oF PROVIDENCE
           DAVID
           DAVID SAVITZ,
                 SAVITZ, being of lawful age and capacity, states the following based on

    first-hand personal knowledge:
                        knowledge:

           1.
           1.    II am aa Professor
                          Professor of Epidemiology
                                       Epidemiology at the School of Public Health at Brown
                                                                     Public Health

    University in Providence,
    University in             Rhode Island.
                  Providence, Rhode         After obtaining
                                    lsland. After           my undergraduate degree
                                                  obtaining my               degree at

    Brandeis University in 1975,
             University in 1975, II studied at The Ohio State University
                                                              University College of Medicine,
                                                                                    Medicine,

    obtained aa Masters
    obtained    Masters degree from Ohio
                        degree from Ohio State in 1978,
                                         State in       and then
                                                  1978, and      obtained aa Ph.D.
                                                            then obtained    Ph.D. in

   epidemiology from the University
                         University of Pittsburgh
                                       Pittsburgh in 1982.
                                                     1982.

          2.
          2.     II was one of the three members
                                         members of the former C-8 Science Panel ("Science
                                                                           Panel ("Science

   Panel"),
   Panel"), which
            which was formed as part of the settlement
                                            settlement of the Leach lawsuit in West
                                                                               West Virginia

         court. The Science
   state court.     Science Panel's work began in
                            Panel's work       in 2005,
                                                  2005, and
                                                        and ended in 2013, when the
                                                            ended in

   Science Panel
           Panel was disbanded.
                     disbanded.

          3.
          3.     As of 2005, when the Science
                 As of                Science Panel             work, itit was
                                                    stafted its work,
                                              Panel started                was not
                                                                               not known

   whether there was or was not a Probable
                                  Probable Link
                                           Link between C-8 and any human disease.
                                                                          disease. The

   Science panel issued the Probable
                            Probable Link
                                     Link report on cancer in 2012.

          4.
          4.     The Science
                 The Science Panel
                             Panel evaluated
                                   evaluated whether
                                             whether there were trends
                                                     there were        of increasing
                                                                trends of increasing

   amounts of disease
              disease with increasing
                           increasing amounts of exposure
                                                 exposure to and blood levels of C-8, and

                                                                   members. The Science
   found that the amount of risk of disease varied among the class members.     Science

   Panel
   Panel was not asked to and did not address     question of whether
                                      address the question    whether every class member

   was at the same amount of increased risk for any disease.
                                                    disease.

          5.
          5.     The Science Panel
                             Panel was not asked to and di dnot address the question of

   whether exposure to 0.05 ppb of C-8 in drinking
                                          drinking water for one year or more was capable
                                                                                  capable
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    of causing cancer in humans. The Science
                                     Science Panel did not determine
                                                           determine any threshold
                                                                         threshold amount
                                                                                   amount

                       of C-8
                  dose of
   of exposure or dose             would be
                          C-8 that would               to cause any
                                         be sufficient to           disease-including
                                                                any disease—including

   cancer. The Science Panel
                       Panel was not asked to and did not address
                                                          address the question of
                                                                               of whether

                                                                                water. Itlt
                           risk of cancer from exposure to 0.05 ppb in drinking water.
   there was any increased risk

   was not the Science Panel's assignment to make
                       Panel's assignment               determinations, and the available
                                             make these determinations,         available

                       determining a threshold level above which harm
   data did not permit determining                               harm would or could result.
                                                                                     result.

          6'
          6.     There was a very wide range of exposures
                                                exposures and blood levels of C-8
                                                                              C-B among
                                                                                  among

   the workers and                                  the Science Panel.
                       community members studied by the
               and the community                                Panet. The Science
                                                                           Science

   Panel was not asked to and did not address
   Panel                                                      whether every class member
                                      address the question of whether

   had aa sufficient exposure to or dose of C-8 to cause every Probable
                                                               Probable Link disease, and

                                            question of whether
   was not asked to and did not address the question    whether every class member had a

   sufficient exposure
   sufficient                                                      testicular cancer.
              exposure to or dose of C-8 to cause kidney cancer or testicular

           '
          7.
          7                                 determinations using a Probable Link standard.
                 The Science Panel made its determinations                       standard.

   Probable Link was defined as: "based upon                             scientific evidence,
                                                               available scientific
                                        upon the weight of the available            evidence,

   itit is more                      there is aa link between exposure to C-8 and aa particular
           more likely than not that there                                           particular

   Human Disease
   Human Disease among
                 among Class
                       Class Members." The Science
                             Members." The         Panel's determinations
                                           Science Panel's determinations were

   based on "among" meaning "somewhere within" the entire group of class members.
                    meaning "somewhere                                   members. The

                 was not
   Science Panel was not asked to and
                         asked to     did not
                                  and did             the question of whether
                                          not address the             whether if any

   individual in the class developed aa Probable
   individual                           Probable Link disease, for example kidney cancer or

   testicular cancer, that it was more likely than not that that specific individual's cancer
                                                                 specific individual's cancer was

   caused by C-8,
   caused by          that itit was
                  nor that
             C-8, nor           was more        than not
                                    more likely than not that there is aa link
                                                              there is    link between that

   individual's          to C-8
   individual's exposure to         that individual's
                                and that
                            C-8 and      individual's cancer. The Science Panel
                                                                          Panel was not

   asked
   asked to and did not address     questíon of whether
                        address the question    whether it was more likely
                                                                    likely than not that there

        link between
   is a link between each member
                          member of the Leach class' C-8 exposure or dose and his or her
                                               --2-
                                                 2-
                                                                                               ii: .ì'jl:;ì       I.r¡:4i '1/:t&;
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                                                                                                                              ,i,   r




                                                                          determine specific
          disease, if any. The Science Panel was not asked to and did not determine
   linked disease,

                     individual.
   causation for any individual.
   causation



                  AFFIANT SAYETH
          FURTHER AFFIANT
          FURTHER                NAUGHT.
                          SAYETH NAUGHT.



                                                      d Savitz,
                                                     Di           h.D.


   Subscribed and sworn to before me
   Subscribed
   thtsflfidev of February,
   this,ia`day    Febru ary, 2019




       ary Public


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                Notary Public. Slate or Plmle                                                             I
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               Vk Commission Expires Oct. 29, 2022




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